                                                                                                   Case 3:16-cv-06980-RS Document 93-1 Filed 04/22/21 Page 1 of 2



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                                                                                             12   Premier Nutrition Company, LLC
                                                    SAN FRANCISCO, CA 94111
VENABLE LLP




                                                                                             13                                 UNITED STATES DISTRICT COURT
                                                                              415-653-3750




                                                                                             14                                NORTHERN DISTRICT OF CALIFORNIA
                                                                                             15
                                                                                                  ERIC FISHON, individually and on behalf of all Case No. 3:16-cv-06980-RS
                                                                                             16   others similarly situated,
                                                                                             17                  Plaintiffs,                    DECLARATION OF ANGEL A.
                                                                                                                                                GARGANTA IN SUPPORT OF JOINT
                                                                                             18                                                 STIPULATION AND PROPOSED
                                                                                                                 v.                             ORDER CONTINUING DISCOVERY
                                                                                             19                                                 DEADLINES FOR LIMITED
                                                                                                                                                DISCOVERY RELATED TO
                                                                                             20   PREMIER NUTRITION CORPORATION,                PLAINTIFF’S FIRST AMENDED
                                                                                                                                                COMPLAINT
                                                                                             21                  Defendant.
                                                                                                                                                CLASS ACTION
                                                                                             22
                                                                                                                                                Judge: Hon. Richard Seeborg
                                                                                             23
                                                                                                                                                Courtroom: 3, 17th Floor
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                                                                                                    DECLARATION OF ANGEL A. GARGANTA IN SUPPORT OF JOINT STIPULATION AND PROPOSED
                                                                                                       ORDER CONTINUING DISCOVERY DEADLINES FOR LIMITED DISCOVERY RELATED TO
                                                                                                                        PLAINTIFF’S FIRST AMENDED COMPLAINT
                                                                                                   Case 3:16-cv-06980-RS Document 93-1 Filed 04/22/21 Page 2 of 2




                                                                                              1          I, ANGEL A. GARGANTA, declare as follows:

                                                                                              2          1.      I am an attorney at law duly admitted to practice in the State of California before

                                                                                              3   this Court. I am a partner at Venable LLP, and counsel of record for Defendant Premier Nutrition

                                                                                              4   in the above-entitled action. I have personal knowledge of the matters set forth in this declaration

                                                                                              5   and if called as a witness, I could and would competently testify to them.

                                                                                              6          2.      Pursuant to Local Rule 6-2(a), I submit this declaration in support of the Parties’

                                                                                              7   stipulation continuing discovery deadlines to permit Premier to conduct limited discovery related

                                                                                              8   to the new allegations concerning the asserted violation of New York General Business Law §

                                                                                              9   350 made in Plaintiff’s proposed First Amended Complaint.

                                                                                             10          3.      April 7, 2021, Plaintiff filed a Motion for Leave to File First Amended Complaint.

                                                                                             11   See ECF No. 88. The proposed First Amended Complaint adds a claim under New York’s
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                                                                                             12   General Business Law (“GBL”) § 350. Premier has agreed to provide written consent pursuant to
                                                    SAN FRANCISCO, CA 94111
VENABLE LLP




                                                                                             13   Fed. R. Civ. P. 15(a)(2) to the filing of the proposed First Amended Complaint in exchange for
                                                                              415-653-3750




                                                                                             14   Plaintiff’s agreement to allow Premier to conduct limited non-duplicative discovery related to

                                                                                             15   Plaintiff’s new GBL § 350 claim, as detailed below.

                                                                                             16          4.      Given the new GBL § 350 claim asserted in the First Amended Complaint, the

                                                                                             17   Parties believe there is good cause to permit Premier to conduct limited discovery unique to the

                                                                                             18   GBL § 350 claim. This narrow reopening of discovery to permit Premier to conduct discovery

                                                                                             19   specifically related to the GBL § 350 claim alleged in the First Amended Complaint will not

                                                                                             20   impact any deadlines, including trial. No post-certification deadlines have yet been set.

                                                                                             21          I declare under penalty of perjury under the laws of the United States of America that the

                                                                                             22   foregoing is true and correct. Executed on April 22, 2021, at San Francisco, California

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                                                                                                                                                              ANGEL A. GARGANTA
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                                                                                                    DECLARATION OF ANGEL A. GARGANTA IN SUPPORT OF JOINT STIPULATION AND PROPOSED
                                                                                                       ORDER CONTINUING DISCOVERY DEADLINES FOR LIMITED DISCOVERY RELATED TO
                                                                                                                        PLAINTIFF’S FIRST AMENDED COMPLAINT
